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              IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF PENNSYLVANIA

Randy J. Spencer,                              :     CIVIL ACTION
            Plaintiff,                         :
                                               :     No. 1:23-cv-00036
      v.                                       :
                                               :
Matt McSparren, Bob Betzold, Fred              :
Buckholtz, Regina Deloe, Township              :
Of Cranberry, and Eric Heil,                   :     (electronically filed)
            Defendants                         :     JURY TRIAL DEMANDED

   DEFENDANTS RESPONSES AND OBJECTIONS TO PLAINTIFF’S
FIRST REQUEST FOR PRODUCTION OF DOCUMENTS DIRECTED TO
      DEFENDANT TOWNSHIP OF CRANBERRY (FIRST SET)

      AND NOW, comes the Defendants and provides the following responses and

objections to Plaintiff’s Request for Production of Documents to Defendant

Township of Cranberry as follows:

                      Request for Production of Documents

      1.     All citations and related documents issued under the Township’s

Nuisance Ordinance, Property Maintenance Ordinance, and Zoning Ordinance

relating to junk yards in the past ten (10) years.

RESPONSE:

   Objection. Plaintiff's Request for Production of Documents Number 1 is
   vague, ambiguous, overbroad, unduly burdensome, seeks information that
   is not relevant to any claim or defense, and seeks information that is not
   proportional to the needs of the case. Defendants further object to
   Plaintiff's Request for Production of Document Number 1 as it seeks
   documents that are beyond the scope of the claims alleged in Plaintiff’s
   Complaint. Specifically, Plaintiff makes no claim related to the Township’s


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   “zoning ordinance.” Without waiving said objections see the documents
   produced in response to Plaintiff's Request for Production of Documents
   (First Set).


      2.    All documents relating to the issuance of a Zoning Enforcement Notice

to SSR, LLC, relating to Parcel No. 08,014,-041..-00 on or about February 11, 2021,

including any documents relating to the investigation or observation of the alleged

violation before the Notice was issued, and all documents relating to the withdrawal

of the Violation Notice on or about April 1, 2021

RESPONSE:

   Objection. Plaintiff's Request for Production of Documents Number 2 is
   vague, ambiguous, overbroad, unduly burdensome, seeks information that
   is not relevant to any claim or defense, and seeks information that is not
   proportional to the needs of the case. Defendants further object to
   Plaintiff's Request for Production of Documents Number 2 to the extent it
   seeks to invade the attorney-client privilege or the attorney work-product
   privilege. Without waiving said objections, see the documents produced in
   response to Plaintiff's Request for Production of Documents (First Set).


      3.    All documents relating to the identification of any automobiles on

Parcel No. 08,014,-041..-00 before the February 11, 2021 Zoning Violation Notice

was issued, including any documents noting ownership of any such vehicles.


RESPONSE:

   Objection. Plaintiff's Request for Production of Documents Number 3 is
   vague, ambiguous, overbroad, unduly burdensome, seeks information that
   is not relevant to any claim or defense, and seeks information that is not
   proportional to the needs of the case. Defendants further object to


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   Plaintiff's Request for Production of Documents Number 3 to the extent it
   seeks to invade the attorney-client privilege or the attorney work-product
   privilege. Without waiving said objections, see the documents produced in
   response to Plaintiff's Request for Production of Documents (First Set).


      4.    All documents relating to the issuance, service, or prosecution of any

violation notice to Daniel Heath under the Cranberry Township Property

Maintenance Ordinance resulting in the filing of a criminal citation at No. MJ-

28304-NT-0000118-2023 and No. MJ-28304-NT-0000119-2023, including any

notes, memoranda, communications, emails, correspondence or other document

comprising the observations of any Township employee and any communication

between Daniel Heath and the Township regarding the Heath property on or near

Deep Hollow Road in the Township.


RESPONSE:

   Objection. Plaintiff's Request for Production of Documents Number 4 is
   vague, ambiguous, overbroad, unduly burdensome, seeks information that
   is not relevant to any claim or defense, and seeks information that is not
   proportional to the needs of the case. Defendants further object to
   Plaintiff's Request for Production of Documents Number 4 to the extent it
   seeks to invade the attorney-client privilege or the attorney work-product
   privilege. Without waiving said objections, see the documents produced in
   response to Plaintiff's Request for Production of Documents (First Set).


      5.    Any and all documents relating to any investigation of the

ownership of any vehicles on the Heath property on or near Deep Hollow Road

in the Township.


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RESPONSE:

   Objection. Plaintiff's Request for Production of Documents Number 5 is
   vague, ambiguous, overbroad, unduly burdensome, seeks information that
   is not relevant to any claim or defense, and seeks information that is not
   proportional to the needs of the case. Defendants further object to
   Plaintiff's Request for Production Number 5 as Plaintiff's request for “all
   documents” is vague and overly broad. Defendants further object to
   Plaintiff's Request for Production of Documents Number 5 to the extent it
   seeks to invade the attorney-client privilege or the attorney work-product
   privilege. Without waiving said objections, see the documents produced in
   response to Plaintiff's Request for Production of Documents (First Set).


      6.     Any and all documents comprising, recording, reflecting, or relating

to the Township’s decision to file the Contempt Petition against Plaintiff on or

about February 2, 2023.


RESPONSE:

   Objection. Plaintiff's Request for Production of Documents Number 6 is
   vague, ambiguous, overbroad, unduly burdensome, seeks information that
   is not relevant to any claim or defense, and seeks information that is not
   proportional to the needs of the case. Defendants further object to Plaintiff's
   Request for Production of Documents Number 6 to the extent it seeks to
   invade the attorney-client privilege and/or the attorney work product
   privilege. Without waiving said objections, see the documents produced in
   response to Plaintiff's Request for Production of Documents.


      7.     Any and all documents relating to any investigation of the junkyard

maintained by Barbara Ross on the Victory Heights Hill property along U.S. Route

322, including, without limitation, any correspondence, violation notices,

citations, or other documents.

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RESPONSE:

   Objection. Plaintiff's Request for Production of Documents Number 7 is
   vague, ambiguous, overbroad, unduly burdensome, seeks information that
   is not relevant to any claim or defense, and seeks information that is not
   proportional to the needs of the case. Defendants further object to Plaintiff's
   Request for Production of Documents Number 7 to the extent it seeks to
   invade the attorney-client privilege or the attorney work product privilege.
   Without waiving said objections, see the documents produced in response to
   Plaintiff's Request for Production of Documents (First Set).


      8.     Any and all documents relating to any investigation of any junkyard

in the Township in the past five (5) years.


RESPONSE:

   Objection. Plaintiff’s Request for Production of Documents Number 8 is
   vague, ambiguous, overbroad, unduly burdensome, seeks information that
   is not relevant to any claim or defense, and seeks information that is not
   proportional to the needs of the case. Defendants further object to Plaintiff's
   Request for Production of Documents Number 8 as the term “junkyard” as
   used in Request for Production Number 8 is not defined by Plaintiff.
   Defendants further object to Plaintiff's Request for Production of Document
   Number 8 to the extent that Plaintiff's request for documents relating to
   “any investigation of any junkyard” is beyond the scope of the claims set
   forth in Plaintiff’s Complaint. Without waiving said objections see the
   documents produced in response to Plaintiff’s Request for Production of
   Documents.


      9.     Any and all internal or external communications regarding any

citations filed under the Township’s Nuisance Ordinance, Property Maintenance

Ordinance, and Zoning Ordinance relating to junk yards in the past five (5) years.

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RESPONSE:

   Objection. Plaintiff’s Request for Production of Documents Number 9 is
   vague, ambiguous, overbroad, unduly burdensome, seeks information that
   is not relevant to any claim or defense, and seeks information that is not
   proportional to the needs of the case. Defendants further object to Plaintiff's
   Request for Production of Documents Number 9 to the extent the request
   for “any and all internal or external communications” seeks to invade the
   attorney-client privilege and/or the attorney work product privilege.
   Defendants further object to Plaintiff's Request for Production of
   Documents Number 9 to the extent the term “junk yards” as used in Request
   Number 9 is not defined by Plaintiff. Without waiving said objections see
   documents produced in response to Plaintiff's Request for Production of
   Documents.


      10.   Any and all internal and external communications regarding Plaintiff’s

alleged violation of the Injunction on the Deep Hollow Property.

RESPONSE:

   Objection. Plaintiff’s Request for Production of Documents Number 10 is
   vague, ambiguous, overbroad, unduly burdensome, seeks information that
   is not relevant to any claim or defense, and seeks information that is not
   proportional to the needs of the case. Defendants further object to Plaintiff's
   Request for Production of Documents Number 10 to the extent Plaintiff's
   request for “any and all internal and external communications” seeks to
   invade the attorney-client privilege and/or the attorney work product
   privilege. Defendants further object to Plaintiff's Request for Production
   Number 10 in that it seeks the production of documents that are likely in
   Plaintiff's possession. Without waiving said objections, see documents
   produced in response to Plaintiff's Request for Production of Documents.



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                                     Respectfully submitted,
                                     Lavery Law

                                     By: /s/ Frank J. Lavery, Jr.
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Date: April 29, 2024                     Attys. for Defendants Matt
                                         McSparren, Bob Betzold, Fred
                                         Buckholtz, Regina Deloe, Township of
                                         Cranberry, and Eric Heil




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                            CERTIFICATE OF SERVICE


      I, Dori Docherty, an employee with the law firm of Lavery Law, do hereby

certify that on this 29th day of April, 2024, I served a true and correct copy of

Defendants Responses and Objections to Plaintiff’s First Request for Production of

Documents Directed to Defendant Township of Cranberry (First Set) via email

addressed as follows:

                            Timothy McNair, Esquire
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                                 Erie, PA 16501
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                              Attorney for Plaintiff

                                     /s/ Dori L. Dockerty
                                     Legal Assistant
